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                               No. 23 - _____
______________________________________________________________________________
             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT
______________________________________________________________________________

 LOUISIANA CHEMICAL ASSOCIATION; LOUISIANA MID-CONTINENT
    OIL AND GAS ASSOCIATION; LOUISIANA ELECTRIC UTILITY
                ENVIRONMENTAL GROUP LLC,
                                                        Petitioners,

                                      v.

      UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
       MICHAEL S. REGAN, in his official capacity as Administrator of
            the United States Environmental Protection Agency,
                                              Respondents.
 _________________________________________________________________

             Petition for Judicial Review of a Final Rule of the
              United States Environmental Protection Agency
__________________________________________________________________

                                    Maureen N. Harbourt
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                                    Association, Louisiana Mid-Continent Oil
                                    and Gas Association, and Louisiana
                                    Electric Utility Environmental Group LLC
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                                   No. 23 - _____
______________________________________________________________________________

              IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FIFTH CIRCUIT
______________________________________________________________________________
 LOUISIANA CHEMICAL ASSOCIATION; LOUISIANA MID-CONTINENT
    OIL AND GAS ASSOCIATION; LOUISIANA ELECTRIC UTILITY
                ENVIRONMENTAL GROUP LLC,

                                                            Petitioners,

                                          v.

       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
        MICHAEL S. REGAN, in his official capacity as Administrator of
             the United States Environmental Protection Agency,

                                                           Respondents.

 _________________________________________________________________

                 CERTIFICATE OF INTERESTED PARTIES

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made so that the judges

of this court may evaluate possible disqualification or recusal.

 Garland, Merrick B., Attorney General, United States Department of Justice
  (Respondents’ counsel)

 Harbourt, Maureen. (Petitioners’ counsel)
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 Kim, Todd, Assistant Attorney General, Environment and Natural Resources
  Division, United States Department of Justice (Respondents’ counsel)

 Kollmeyer, Josiah. (Petitioners’ counsel)

 Louisiana Chemical Association. (Petitioner)

 Louisiana Electric Utility Environmental Group LLC. (Petitioner)

 Louisiana Mid-Continent Oil and Gas Association. (Petitioner)

 Nance, Earthea (Regional Administrator for Respondent United States
  Environmental Protection Agency)

 Prieto, Jeffrey M. (General Counsel for Respondent United States
  Environmental Protection Agency)

 Regan, Michael S., Administrator, United States Environmental Protection
  Agency (Respondent)

 Rucinski, Lauren. (Petitioners’ counsel)

 United States Environmental Protection Agency (Respondent)




                                     /s/Maureen N. Harbourt
                                     Maureen N. Harbourt
                                     Counsel for Petitioners
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                                  No. 23 - _____
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              IN THE UNITED STATES COURT OF APPEALS

                          FOR THE FIFTH CIRCUIT
______________________________________________________________________________

 LOUISIANA CHEMICAL ASSOCIATION; LOUISIANA MID-CONTINENT
    OIL AND GAS ASSOCIATION; LOUISIANA ELECTRIC UTILITY
                ENVIRONMENTAL GROUP LLC,
                                                           Petitioners,

                                         v.

       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
        MICHAEL S. REGAN, in his official capacity as Administrator of
             the United States Environmental Protection Agency,
                                              Respondents.
 _________________________________________________________________

                           Petition for Judicial Review
      Under 42 U.S.C. § 7607(b)(1) and Federal Rule of Appellate Procedure 15(a),

the Louisiana Chemical Association, Louisiana Mid-Continent Oil and Gas

Association, and the Louisiana Electric Utility Environmental Group LLC

(“Petitioners”) petition this Court for review of Respondents United States

Environmental Protection Agency and Administrator Michael S. Regan’s

disapproval of Louisiana’s state implementation plan (“SIP”) regarding the interstate

transport requirements of 42 U.S.C. § 7410(a)(2)(d)(i)(I) for the 2015 8-hour ozone

national ambient air quality standard, titled “Air Plan Disapprovals; Interstate
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Transport of Air Pollution for the 2015 8-Hour Ozone National Ambient Air Quality

Standards,” 88 Federal Register 9,336 (February 13, 2023) (“Final Rule”).1 See

FED. R. APP. P. 15(a)(2)(C) (“The petition must . . . specify the order or part

thereof to be reviewed.”).

         Jurisdiction and venue lie in this Court under 42 U.S.C. § 7607(b)(1). The

challenged action’s disapproval of Louisiana’s SIP is a “locally or regionally

applicable” action and is not “based on a determination of nationwide scope or

effect.” See id.; Texas v. EPA, 829 F.3d 405, 418–24 (5th Cir. 2016). This petition

for review is timely filed within sixty days of the challenged action’s publication in

the Federal Register. See 42 U.S.C. § 7607(b)(1). Petitioners request that the Court

vacate, set aside, and hold unlawful the EPA’s final action on the Louisiana SIP.


April 13, 2023                               Respectfully submitted,

                                            /s/Maureen N. Harbourt
                                            Maureen N. Harbourt (Bar Roll La. 01068)
                                            Lauren B. Rucinski (Bar Roll La.
                                            Josiah M. Kollmeyer (Bar Roll La.
                                            Kean Miller LLP
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    A copy of the Final Rule is attached to this petition as Attachment A. 5TH CIR. R. 15.1.
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                                       Counsel for the Louisiana Chemical
                                       Association, Louisiana Mid-Continent Oil
                                       and Gas Association, and Louisiana
                                       Electric Utility Environmental Group LLC

                              Certificate of Service


         On April 13, 2023, this petition for review was served by Petitioners’

counsel by first-class mail, postage prepaid, upon the following:

The Honorable Merrick B. Garland
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Washington, DC 20530

Todd Kim
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U.S. Department of Justice
Environment and Natural
Resources Division
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Michael S. Regan
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U.S. Environmental Protection Agency
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Washington, DC 20460

Earthea Nance
Regional Administrator
U.S. Environmental Protection Agency
Region 6
1201 Elm Street
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Suite 500
Dallas, Texas 75270

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Office of General Counsel (2311)
U.S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW
Washington, DC 20460



                                   ____________________________________
                                   _/s/Maureen N. Harbourt
                                   Maureen N. Harbourt
                                   Counsel for Petitioners
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                   Attachment A
EPA, Final Rule, Air Plan Disapprovals; Interstate Transport of Air
Pollution for the 2015 8-Hour Ozone National Ambient Air Quality
Standards, 88 Fed. Reg. 9,336 (Feb. 13, 2023)
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